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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

EJ. a minor, by IRINA MAYMAN, NO. 3:23-cv-1636 !

mother :

Plaintiff |

V.

(MEHALCHICK, M.J.)

ROBERT JOHNSON et al., 2
Defendants

ORDER

ath
AND NOW, this $ day of | as , 2024, upon consideration of

Defendant’s Uncontested Motion to ModifyCase Management Order (Doe. 19) and for
good cause having been shown, IT IS HEREBY ORDERED, that the Defendant’s motion

is GRANTED and that:

1. Amendment of Pleadings for Plaintiffs shall be completed by July 30,
2024;

2. Amendment of Pleadings for Defendants shall be completed by August 30,
2024,

3. Fact Discovery shall be completed by September 30, 2024;

4. Plaintiff's expert reports shall be completed and served upon Defendants
by July 30, 2024;

5. Defendants’ expert report shall be completed and served upon plaintiff by
September 12, 2024;

6. Supplemental Expert Reports shall be completed and served by October
13, 2024;

7. All dispositive motions shall be filed by October 30, 2024.

BY THE COURT

FILED UW.

SCRANTON
JUL © g 2024 J.
Per. KC,

DEPUTY CLERK

